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              IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                 NO.   4:05CR00305-010 SWW

KRISTY CASTELLI




                                    ORDER

       Pending before the Court is defendant’s pro se motion for a

reduction of her sentence imposed on May 9, 2007. The Court is has

carefully considered defendant’s motion and finds that the motion should

be, and it hereby is, denied.       Even if the rulings cited by defendant

were applied retroactively to give this Court discretion to modify a

sentence previously imposed, this Court would find that the sentence of

23 months is reasonable and fair pursuant to the factors listed in 18

U.S.C. §3553(a).

       IT IS SO ORDERED this 30th   day of May, 2008.



                                            /s/Susan Webber Wright

                                            UNITED STATES DISTRICT JUDGE
